Case 1:05-cr-00557-DC Document11 Filed 03/06/06 Page 1 of 5

“402453 (Rev. 06/05) Judgment in a Criminal Case
Sheet | .

SS SSS au

UNITED STATES DISTRICT COURT

 

 

 

 

SOUTHERN District of NEW YORK
UNITED STATES OF AMERICA JUDGMENT IN A CRIMINAL CASE
V.
Hakeem Ogunnowo Case Number: 1-05 CR 00557-001(DC)
USM Number: 53043-054

Amilio P. Marino, <sq.
Defendant’s Attorney

THE DEFENDANT:

x pleaded guilty to count(s) 1

 

U1 pleaded nolo contendere to count(s)
which was accepted by the court.

 

[] was found guilty on count(s)
after a plea of not guilty.

 

The defendant is adjudicated guilty of these offenses:

Tithe & Section Nature of Offense Offense Ended Count
18 U.S.C. 1344 Conspiracy to Commit Bank Fraud 06/30, 2004 J
The defendant is sentenced as provided in pages 2 through 5 of this judgment. The sentence is imposed pursuant to

the Sentencing Reform Act of 1984.

C1 The defendant has been found not guilty on count(s)

 

C1) Count(s} Clis [1 are dismissed on the m:tion of the United States.

It is ordered that the defendant must notify the United States attorney for this distric:t within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this ji. dgment are fully paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in econ auc circumstances.

02/27/2006
Date of Imposition of Juciiaagnt
? rad

A

. LEE nl
+» ki

<-Stinature of Judge

Denny Chin, U.S.D.J.

Name and Title of Judge

Date

 

 
Case 1:05-cr-00557-DC Document11 Filed 03/06/06 Page 2 of5
AO 245B (Rev. 06/05) Judgment in a Criminal Case
Sheet 4- Probation

 

Judgmeni—Page 2 of 3
DEFENDANT: Hakeem Ogunnowo
CASE NUMBER: 1: 05 CR 00557-001(DC)
PROBATION
The defendant is hereby sentenced to probation for a term of : 3 Years

The defendant shall not commit another federal, state or local crime.

The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of placement on prcbation and at least two periodic drug tests
thereafter, as determined by the court.

(] The above drug testing condition is suspended, based on the court’s determination that the defendant poses a low risk of
future substance abuse. (Check, if applicable.)

x The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)

O

The defendant shall cooperate in the collection of DNA as directed by the probation > fficer. (Check, if applicable.)

O

The defendant shall register with the state sex offender registration agency in the stat? where the defendant resides, works, or 1s a
student, as directed by the probation officer. (Check, if applicable.)

Ol The defendant shall participate in an approved program for domestic violence. (Che>k, if applicable.)

If this judgment imposes a fine or restitution, if is a condition of probation that the defendant pay in accordance with the Schedule of
Payments sheet of this judgment.

The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

STANDARD CONDITIONS OF SUPERVISION

1) the defendant shall not leave the judicial district without the permission of the court or probation officer,

2) the defendant shall report to the probation officer and shall submit a truthful and ozmplete written report within the first five days of
each month;

3) the defendant shall answer truthfully al! inquiries by the probation officer and follc-¥ the instructions of the probation officer,
4) the defendant shall support his or her dependents and meet other family responsibilities;

5) the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
acceptable reasons;

6) the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;

7) the defendant shall refrain from excessive usc of alcohol and shall not purchase, po:sess, use, distribute, or administer any controlled
substance or any paraphernalia related to any controlled substances, except as prescribed by a physician,

8) the defendant shall not frequent places where controlied substances are illegally scid, used, distributed, or administered;

9) the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
felony, unless granted permission to do so by the probation officer;

10) the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
contraband observed in plain view of the probation officer;

11) the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;

12) the defendant shall not enter into any agreement to act as an informer or a speci! agent of a law enforcement agency without the
permission of the court, and

13) as directed by the probation officer, the defendant shall notify third parties of risks “iat may be occasioned by the defendant’s criminal
record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
defendant’s compliance with such notification requirement.
AO 24858 (Rev. 00/05) uaeenin seomig Cae DE Document 11 Filed 03/06/06 Page 3 of 5

Sheet 4C — Probation

 

Judgment—Page _ 3 of Lo

DEFENDANT: Hakeem Ogunnowo
CASE NUMBER: 1: 05 CR 00557-001(DC)

SPECIAL CONDITIONS OF SUPERVISION

The defendant shall participate in a program approved by the Probation Department, which program may include testing to
determine whether the defendant has reverted to the use of drugs or alcoho]. The Court authorizes the release of available
drug treatment evaluations and reports to the substance abuse treatment provider, :s approved by the probation officer. The
defendant shall be required to contribute to the costs of services rendered (co-pay-nent) in an amount to be determined by the
probation officer, based on ability to pay or availability of third-party payment.

The defendant shall obey the immigration laws and comply with the directives of the immigration authorities.

The defendant shall be supervised by the district of residence.
Case 1:05-cr-00557-DC Document11 Filed 03/06/06 Page 4 of 5
AO 245B (Rev. 06/05) Judgment in a Criminal Case
Sheet 5— Criminal Monetary Penalties

Judgmeni-- Page 4 oof 5
DEFENDANT: Hakeem Ogunnowo
CASE NUMBER: 1: 05 CR 00557-001(DC)

CRIMINAL MONETARY PENALTIES

The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

Assessment Fine Restitution
TOTALS $ 100.00 $1,000.00 5
[1 The determination of restitution is deferred until _An Amended Judgment in a Criminal Case (AO 245C) will be

aiter such determination.
[1 The defendant must make restitution (including community restitution) to the followir g, payees in the amount listed below.

If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
the priority order or percentage payment column below. However, pursuant to 18 U.8.C. § 36644), all nonfederal victims must be paid
before the United States is paid.

Name of Payee Total Loss* Restitution Ordered Priority or Percentage
TOTALS $ $0.00 $ ____ 30.00

Restitution amount ordered pursuant to plea agreement $

 

The defendant must pay intercst on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

(The court determined that the defendant does not have the ability to pay interest anc it is ordered that:
L] the interest requirement is waived for the C] fine (7 restitution.

C1 the interest requirement forthe (1 fine (1 restitution is modified as fc: lows:

* Findings for the total amount of losses are required under Chapters 109A, 110, LIGA 3A of Title i
Saree TOOd bat betore Aged oy iege pter GA, ; _and 13A of Title 18 for offenses committed on or after
Case 1:05-cr-00557-DC Document11 Filed 03/06/06 Page 5of5

AQ245B — (Rev. 06/05) Judgment in a Criminal Case
Sheet 6 — Schedule of Payments

Judgment —Page __ 5. of
DEFENDANT: Hakeem Ogunnowo
CASE NUMBER: 1: 05 CR 00557-001(DC)

SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties are due as follows:

A [J Lump sum payment of $ due immediately, balance due

[] not later than , or
[J in accordance 1, OD OF &o O F below; or

B  (] Payment to begin immediately (may be combined with (JC, []D,or (JF below); or

C J Payment in equal (e.g., weekly, monthly, quarterly) installmer 1s of $ over a period of
(e.g., months or years), to commence (e.g., 30 or 60 ciays) after the date of this judgment; or

D (] Payment in equal (e.g., weekly, monthly, quarterly) installmeris of $ over a period of
(e.g., months or years), to commence (e.g., 30 or 60 days) after release from imprisonment to a

term of supervision; or

E  [] Payment during the term of supervised release will commence within . (e.g., 30 or 60 days) after release from
imprisonment. The court will set the payment plan based on an assessment of thu: defendant's ability to pay at that time; or

Fx __ Special instructions regarding the payment of eriminal monetary penalties:

The $100.00 special assessment shal! be paid immediately. The fine payment of $ 1,000.00 shall be paid at the rate of 10% of his
gross monthly income without interest starting 30 days after the filing of the judyement.

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, pa “ment of criminal monetary penalties is due durin
imprisonment. All crimina monetary penalties, except those payments made through tae Federal Bureau of Prisons’ Inmate Financia
Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal rrienetary penalties imposed.

{1 Joint and Several

Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
and corresponding payee, if appropriate.

CL] The defendant shall pay the cost of prosecution.
CJ The defendant shal! pay the following court cast(s):

[1] The defendant shall forfeit the defendant’s interest in the following property to the United States:

Payments shall be applied in the following order: (1) assessment, (2) restitution principal. (3) restitution interest, (4) fine principal,
(5) fine interest, (6) commnnity restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
